      Case: 4:16-cv-00115-MPM-JMV Doc #: 23-1 Filed: 08/26/16 1 of 4 PageID #: 807




                  Fw: Activity in Case 4:16-cv-00115-MPM-JMV Shwartz v. Khodr Amended
                  Order Staying Case
                  Brittany Frankel        to: Necee Brownlee, Dean Dacus                 08/25/2016 10:02 AM

From:            Brittany Frankel/MSND/05/USCOURTS
To:              Necee Brownlee/MSND/05/USCOURTS@USCOURTS, Dean
                 Dacus/MSND/05/USCOURTS@USCOURTS,



 Brittany Brooks Frankel
 Law Clerk to Magistrate Judge Jane M. Virden
 United States District Court for the Northern District of Mississippi
 305 Main Street, Room 329
 Greenville, Mississippi 38701
 Telephone: 662-390-4302
  Facsimile: 662-332-6881

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From:              Sheena Edwards <Sheena.Edwards@butlersnow.com>
To:                "'brittany_frankel@msnd.uscourts.gov'" <brittany_frankel@msnd.uscourts.gov>,
Date:              08/25/2016 09:33 AM
Subject:           FW: Activity in Case 4:16-cv-00115-MPM-JMV Shwartz v. Khodr Amended Order Staying Case




Sheena M. Edwards
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From: Josh Hill
Sent: Thursday, August 25, 2016 9:23 AM
To: Sheena Edwards
Subject: FW: Activity in Case 4:16-cv-00115-MPM-JMV Shwartz v. Khodr Amended Order Staying Case




Josh A. Hill
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    Case: 4:16-cv-00115-MPM-JMV Doc #: 23-1 Filed: 08/26/16 2 of 4 PageID #: 808




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From: Steve McDavid [mailto:smcdavid@mcdavidlaw.com]
Sent: Thursday, August 25, 2016 8:20 AM
To: Josh Hill
Subject: Fwd: Activity in Case 4:16-cv-00115-MPM-JMV Shwartz v. Khodr Amended Order Staying Case

Josh,

In light of the court changing this order, can you guys agree to give us an additional week with
briefs due on Sept 15?
Thanks
Steve
---------- Forwarded message ----------
From: McDavid & Associates, PC <admin@mcdavidlaw.com>
Date: Wed, Aug 24, 2016 at 4:07 PM
Subject: Fwd: Activity in Case 4:16-cv-00115-MPM-JMV Shwartz v. Khodr Amended Order
Staying Case
To: Steve McDavid <smcdavid@mcdavidlaw.com>
Did you see this? Everything is due on September 8th.
Best regards,

Merry C. Johnson, J.D.
McDavid & Associates, PC
1109 Van Buren Avenue
Post Office Box 1113
Oxford, Mississippi 38655
Telephone: (662) 281-8300
admin@mcdavidlaw.com

---------- Forwarded message ----------
From: <ecf_Information@msnd.uscourts.gov>
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Case
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                                    U.S. District Court

                              Northern District of Mississippi
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The following transaction was entered on 8/24/2016 at 8:47 AM CDT and filed on 8/24/2016
Case Name:         Shwartz v. Khodr
                   4:16-cv-00115-MPM-JM
Case Number:
                   V
Filer:
Document
                   No document attached
Number:

Docket Text:
TEXT ONLY AMENDED ORDER STAYING CASE, clarifying scope of
stay. Stay applies to discovery only pursuant to L.U. Civ. R.
16(b)(3)(B). [15] MOTION TO DISMISS FOR FAILURE TO STATE A
CLAIM , [11] MOTION FOR SANCTIONS, [13] MOTION TO DISMISS
FOR LACK OF JURISDICTION Responses due by 9/8/2016. No further
written order shall issue from this court. Signed by Magistrate Judge Jane M.
Virden on 8/24/2016. (bbf) (no document attached)

4:16-cv-00115-MPM-JMV Notice has been electronically mailed to:

Stephan L. McDavid smcdavid@mcdavidlaw.com, admin@mcdavidlaw.com,
atty@mcdavidlaw.com

Milton D. Hobbs   dhobbs@harrisshelton.com, andrea@harrisshelton.com

Joshua Adam Hill Josh.Hill@butlersnow.com, mark.dreher@butlersnow.com,
rae.hopkins@butlersnow.com

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Stephan Land McDavid
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